62 F.3d 1415
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.James LADAS, Plaintiff-Appellant,v.SHAREMORE LOTTERY COMPANY, Defendant-Appellee.
    No. 95-1686.
    United States Court of Appeals, Fourth Circuit.
    Aug. 10, 1995.Submitted:  July 25, 1995Decided:  August 10, 1995
    
      James Ladas, Appellant Pro Se.
      Before WILKINS, NIEMEYER, and MICHAEL, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order dismissing this action for failure to comply with a court order to particularize his allegation.  We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.  Ladas v. Sharemore Lottery Co., No. CA-94-2205-K (D.Md. Mar. 16, 1995).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    